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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                    AT COVINGTON

CRIMINAL CASE NO. 03-74

UNITED STATES OF AMERICA                                                     PLAINTIFF

                                        ORDER
vs.

FRANKLIN DAVIS                                                             DEFENDANT

                                         *****

       The Magistrate Judge having issued a Report and Recommendation on

defendant’s alleged supervised release violation, and the defendant having waived a

final revocation hearing,

       IT IS ORDERED that the Report and Recommendation is ADOPTED.

       IT IS FURTHER ORDERED that the term of supervised release of the defendant

is revoked, that the defendant is committed to the custody of the Bureau of Prisons for

a term of two (2) years, and that no further term of supervised release is imposed.




        Signed on October 11, 2006
